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FILED
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Las Vegas, NV 89123 " ”
(702) 339-9798 wie ay SiST OF CALIF.

Attorneys for Defendant ange LEG
U.S. Private Vaults, Inc.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

THE UNITED STATES OF Case No.: 21-CR-00106-MCS
AMERICA REQUEST TO APPEAR
CA, TELEPHONICALLY; [PROPOSED]
Plaintiff, ORDER
Vs. DATE: MARCH 16, 2022
Es ERVIN NE TIME: 10:00 A.M.
SS. V AULT ,
PRI E SI , HONORABLE MARK C. SCARSI

Defendant.

oY

Michael H. Singer, counsel for Defendant U.S. Private Vaults, Inc. hereby requests
to appear telephonically for the Plea Hearing scheduled in this case March 16,
2022 at 10:00 a.m. as a special appearance pro hac vice for the purpose of filing a
plea on behalf of the corporation U.S. Private Vaults, Inc. Counsel resides in
Nevada and wishes to avoid traveling to Los Angeles due to the lingering risks
associated with the covid pandemic. Counsel can be reached for this hearing at
(702) 339-9798. Counsel is advised that Asst. U.S. Attorney Andrew Brown does

not oppose this request.
Dated: March 11, 2022 Respectfully submitted,

By. Dac we Ese y—
M

ichael H. Singer
Attorney for Defendant
U.S. Private Vaults, Inc.

 
